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           In the United States Court of Federal Claims
                                           No. 18-1623C
                                     (Filed: October 18, 2019)

                                              )
 MICHAEL CONWAY,                              )
                                              )
                      Plaintiff               )
                                              )
 v.                                           )
                                              )
 UNITED STATES,                               )
                                              )
                        Defendant.            )
                                              )
                                              )

                                             ORDER

        Pursuant to the Court’s Memorandum Opinion and Order of October 3, 2019 (ECF 20),
the parties have this day filed a Joint Stipulation (ECF 21) in which they advise the Court that
they have agreed on the amount owed to the plaintiff.

      Accordingly, and pursuant to the Joint Stipulation, the defendant shall pay to the plaintiff
$24,489,799 in full satisfaction of the plaintiff’s claims.

       The Clerk is directed to enter judgment in favor of the plaintiff in the amount of
$24,489,799.

       Costs are awarded to the plaintiff.

       It is so ORDERED.


                                                                 s/ Richard A. Hertling
                                                                 Richard A. Hertling
                                                                 Judge
